Case 3:23-cv-11808-ZNQ-TJB Document 48-1 Filed 09/20/23 Page 1 of 3 PageID: 1692




                               Exhibit A
Case 3:23-cv-11808-ZNQ-TJB Document 48-1 Filed 09/20/23 Page 2 of 3 PageID: 1693




          Declaration of Ashley J. Burden Pursuant to 28 U.S.C. § 1746

         I, Ashley J. Burden, Senior Trial Attorney for Plaintiff Commodity Futures

 Trading Commission (“CFTC”), hereby declare on the basis of my personal

 knowledge that the following documents, appended as exhibits to the CFTC’s and

 Temporary Receiver’s Motion for Order to Show Cause Why Defendants Should Not

 be Held in Contempt are true and accurate copies of the following items of

 correspondence:

  A-1        Letter from A. Burden, Counsel for CFTC, to M. Kazmi, Def., et al.,
             Aug. 31, 2023

  A-2        Letter from A. Burden to M. Kazmi, et al. Sept. 1, 2023

  A-3        Email from S. Placona, Counsel to Temp. Recv’r, to M. Kazmi, et al.,
             Sept. 1, 2023

  A-4        Email from F. Vinopal, Head of Compliance, Confirmo, to CFTC, Sept.
             5, 2023

  A-5        Letter from A. Burden to R. Zink, Counsel to Defs, et al., Sept. 7, 2023

  A-6        Email from S. Placona to D. Speas, Counsel to Defs., et al., Sept. 8,
             2023

  A-7        Email from A. Burden to R. Zink, et al., Sept. 8, 2023

  A-8        Letter from R. Zink to CFTC and Temp. Recv’r, Sept. 10, 2023

  A-9        Email from S. Placona to D. Speas, et al., Sept. 11, 2023

  A-10       Email from F. Vinopal to S. Placona, 12, 2023

  A-11       Emails from D. Speas to S. Placona, et al., Sept. 14, 2023

  A-12       Email from D. Speas to S. Placona, et al., Sept. 15, 2023
Case 3:23-cv-11808-ZNQ-TJB Document 48-1 Filed 09/20/23 Page 3 of 3 PageID: 1694




  A-13      Emails between D. Speas and A. Burden, et al., Sept. 19-20, 2023



 I declare under penalty of perjury that the foregoing is true and correct.

  Executed September 20, 2023             s/ Ashley J. Burden
                                          Senior Trial Attorney
                                          Division of Enforcement
                                          Commodity Futures Trading Commission
                                          77 West Jackson Blvd.
                                          Suite 800
                                          Chicago, IL 60604
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